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 8                          UNITED STATES DISTRICT COURT

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,             ) 2:15-MJ-00207-AC-4
                                           )
12             Plaintiff,                  ) [Proposed] ORDER TO CONTINUE
                                           ) STATUS HEARING AND SET FOR A
13        v.                               ) CHANGE OF PLEA
                                           )
14   SCOTT PITMAN,                         ) DATE: January 25, 2016
                                           ) TIME: 9:00 a.m.
15             Defendant.                  ) JUDGE: Hon. Allison Claire
                                           )
16                                         )
                                           )
17                                         )
18                                      ORDER

19        It is hereby ordered that the status hearing presently set for
20   January 25, 2016 at 9:00 a.m. be continued to February 8, 2016 at
21   9:00 a.m. and be set for a change of plea.
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24   DATED: January 25, 2016
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